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Summons- AlinsSummons

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IN TIIE C]RCUIT COURT UF COOK CoUNTY, ILLINOIS W
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Mglm soo mcmann J.DALB¥ carmen § §
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ij".", <f`;'
SUMMONS |:l ALIAS-SUMMONS '_";' §§
Te each defendant co "'

YOU ARE SUMMONED and required to tile an answer to the complaint` m this case, a copy of which' ls hereto
attached, motherwise tile your appearance and pay the required fee,` m tile Oft`lce of the Clerk of this Court at the
following iocation:

-Richard J. Daley Cenier, 50 W. Washl`ngton, Room gm

M,wago, I]]inois 606£}2
_ |:iDistrict 2 - Skokie []District 3- -Rolling Meadows EDisn-ict 4 - Ma,ywood
5600 Old Orchard Rt,i_, 2121 Euelid 1500 7 . - May`breok Ave.,
Skokie,-R 60077 " Ro]_]jng _Meaciows_, IL 60008 . Mayweod, [L 60153
' _Er)isn~ict 5 - Bridgnr.iew~ gonzalez 6 Mnkhnn y ERi¢nani J.- Dale`y Cemer -
10220 s 76thAve.16501 S I<;edzie Pkwy _ ` . ' 50 W Washisgton, 131-01-
Bridgeview,_ IL 60455 Mark_hatrl, ll 60428 7 " `

7 ' - Chl`cag_o ]L 60602
`You must tile within 30 days etier Servl<>e of tilis S‘tnnrnons, not counting the day of service

IF Y€)U FA[L TO DO SO, A IU§}GMENT BY I)E§“AULT MAY BE ENTBRED AGAINST YOU FOR 'I_'H_E
RELIEF REQUESTED ]N 'I`HE COMPLAINT

'[`o the oNcer: "
Thjs S_ummons must be returned by the tach or other person to whom it was given for service, with enciorsement
ofservice and fees, if any, immediater after selviee if service cannot be made, this Smnmons shall be returned so
endorsed Thjs Summons may not be served later than thirty (30) days after its date

il 'ANY. N°~¢ 59135

 

 

 

 

 

 

 

 

 

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Namef LEONARDMEYERM ' n fS DORCTHY BROWN n !:f’ E+Q Q.\\_!* ix
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f ' _ _ 7 DQROTHY BROWN, clerk of rs
._ ARY- 01” MARQAR£T:M{:AMOS l § _'/é,
Address: szLAsALLE zone " ¢‘oa“"-°'/\ o o
Date of Ses'vice: "'" °°
Citnytate!Zip Cede: mm l m
?efephone gm 380_6634 {Tu be mserwd by oEc.er on copy ten weil Defendnnt or adler person)
Pn`mary Ernail Ad€iress: whge@wme,np m
Secondmy Email Addrees(es):

**Semce by ¥~’aesimile Tl'anslnission will be accepted at:

 

 

(Area Codc)

 

{Facsimi}e Telepllone Number)

 

DOROTHY ’BROWN, CLERK OF 'l'lEIE CIRCUIT COURT OF COOK COUNTY ILIJNOIS
Page 1 of 1

 

' Case: 1:18-Cv-02778 Document #: 1-1 Filed: 04/18/18 Page 2 of 8 Page|D #:4
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IN "I`HE CIRCUIT CGURT GF COOK COUNTY, HLINOIS

 

No» 20 ls-L-m‘!-Qg-

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W son RICHARD J..DALEYCM'ER

so wes¥ WA$EENGT€)N

CmCAGO, 11606£|2

E! SUMMONS |:I ALIAS - SUMOKS
To each defendant:
YOU ARE SU'MMONED and required to Hle an answer to tile complaint in this case, a copy ofwhich is hereto
attachod_, or otherwise iile your appearance, and pay the required fee, 111 the O$ce of the Clerk of this Court at the
following ioeadon:

lRichard .¥. haley Center, 50 W. Washington, Room 391 ,Chicago, I]]inois 60602
|:]Bistrict 2 ~ Skokie [lDistzict 3 '~_~ Rolljng Meadows [|Distz-i¢;c 4 .. Mangod
560_0 Old Orchard Rd. - 2121 Euclid 1500 Maybrook Ave.
Skoki@,_ 1160077~ Roning M¢adows, IL_soooa - Mayw<»od, 1115015‘3
7 EDistrict 5 .- Bridgeview. §§District 6- Mar_kham ` . ’ 1 :IRichard .¥. Dalcy Center
10220 S. 76111 Ave - _ 16501 S Kedzie Pkwy. 1 § . i 511 W Washingmn, LL.¢)I h
Br.idgev‘iew', I`L 60455 . Maxkham, IL 6_{}428 ` Chic`ago, IL 60602

' ~ Yo¥.r must fda Wi_th_in 30 days after service df1111s Su_mmons, 1101 count111g the day of servi¢e._

§§ YOU FA]L 'I`O DO SO, A IUDGMENT BY DEFAUH§` MAY BE ENTBRED AGAINST YOU FOR THE
REL_lEF REQUESTED ]N 'l'_H_E COD§§’LAWT `

'I`o the cr$cer;

This Summons must be returned by_ the oEicer 01 other person to whom it was given for service, with endorsemenf
01` service and fees, if any, immediately after service lf scheme cannot be made, this Sumwous shall be returned so
endorsed 'Ihis Sumuas may not be served fater thau thirty (30) days a§er its date. ' 7

` n l 1 N
Witness: _
EI Atty. No,: 59135 urs§§, €}8 Mggéurrcoum l
~ is DORGTHY BROWN n

   

Nam€- LEDNARDMYERLLP

Affy-ff>f= MARQARETJAN§€AMPUS
Address: 120NLASA:.1.E2¢100

City/State/Zip Code: egg¢A<y,O, 11 60602
Telephune: (3 121 380-6634

Primary §mai§ A.ddrcss: emm@lwwdm¢yunpmm
Second,ary Emai¥ Addl'CSS{ES)t

DOROTHY BROWN, Clerk of C

Da£*e cf Servicc: ` _ __ _ _
(Te be inserted by oi}icer on copy Feft With Defeodaot or other person)

 

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(Area Code) (Facsimile Telephonc Nmnbcr)

 

DOROTHY BROWN, CLERK OF 'I`]IE CIR'CU.IT COURT ()F COOK COUNI'Y, IILINOIS
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Litigant List
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Plaintiffs
Plainiiffs Name PIaln_iiEsAdd:=ass State Ep Uz\it#
MARGAREr JANE cAMPos
Total P¢s:irzms: 1
Defendants
Defsndant Name Defendant Address State Unit #‘ Servioe By
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ATTQQNEY'$ oFFlc§ _ cHlCAGO ' ' y .
ct)c>x riouNTv‘ soonchARn.:. DALEY cENYER :L _ 160602 50 wEsT ` \ sherifs~c!en<
_ ozachch - - - . ‘ . -

Total Defendants: 2

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coUNTY DEPARTMENT, LAW DIVISI N CLERK BOROTHY BROWN

 

 

MARGARET .IANE CAMPOS,
Plaintiff, Case No,
v. Judge
COOK COUNTY STATE’S
ATTORNEY’S E)FFICE and COOK
` COUNTY, ILLINOIS

Defendants.

 

COMPLA!NT
P1a1ntiff, Margaret Campos (“Ms Campos” , by and through her nndersigned counsel
111eges and states as fo11ows as her Complaint against Dofondants COOK COUNTY S_TATE’S `
§_ A'ITORNEY’S O§§ICE {thr-: “OFFICE”), and COOK COUNTY ILL]INOIS _(t11€ “COM”);.
l THE PARTIES '
l. _ Plaintif}`, Ms Campos, 13 a citizen and residént of the Sta`te of lllinois and of this
County. A's all relevant-times, Ms. Cgmpos was employed by the OFFICE and the COUNTY.

` n 2. At all relevant times, the OFFICE did business', and regularly and continuously
trénsacted business in the State of Illinois and i`n this C_ount`y. A_t all relev1nt fitnes, thé OF§ICE
and the COUNTY Were the employer of Ms. Campos. ' 7

3. At all relevant times, the CO`UNTY is a county 111-this judicial disn1ct that

operates hud maintains the OFFICIE.

 

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JURISDICTION & VENUE

4. The Court has jurisdiction over this matter, and venue is proper because
Defendants Were at all relevant times doing and transacting business in this County, including by
way of employing Ms. Campos, and the events and omissions giving rise to Ms. Campos’s
claims all occurred in this County- and arose out cf Ms. Carnpos’s employment with the
Defendants'.

BACKGROUNB FACTS

5. At all relevant times, Ms. Campos was empioyed by the OFFICE as an Assistant

Stute’s Attorney in the Crirninal Trial Division.

6. At all relevant times, Ms. Cernpos met and/or exceeded the OF§ICE’s legitimate '

performance expectations

f _ l 717 On or about May 19 or May 11,201'? Ms Campos requested ieave under the
§_arnily and hdedical Leave Act (“FMLA”) frorn the OFFICE because of her father’s “serious
hea£th condition," as defined by the FMLA, including but not limited to his upcoming out-of-
State surgery See 29 C. F. R 825.113 (detining “serious health eondition”.

8. On or about the following Monday, the O§FICE, through one of its duly
authorized human resource employee representatives told Ms. Campos during a telephone ca11
that the OFFI(jE would provide her With approved FMLA icave'.' -

9. That employee of the -OFFICE further instructed Ms. Campos to tax or otherwise
provide the OFFIC§ with documentation verifying Ms. Carnpos’s father’s serious health
condition

10. Ms. Campos complied with that request by forcing such documentation to the

OFFICE.

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l l. The OFFICE did not request or require Ms. Campos to ill out or submit any other
documentation or paper\)vorlcl

12. Accordingly, pursuant to her approved leave, Ms. Campos Was off Work until on
or about June 5, 2017.

13. Ms. Campos subsequently teamed that her superiors Were hirious that she had

_ missed Work, and that in particular she had missed making a presentation during her leave.

14. On or about July 14, 201’[, the OFFICE terminated Ms. Campos’s employment,
effective August l, 2017, because she took FMLA time off and in retaliation for taking such
leave.

LEGAL CLAIMS '

COUNT I- VIOLATIONS ()F THE FMLA
(Agains_t Defendant COOK COUNTY STA'I`E’S A'I`TO._RNEY’S OFFICE)

i$. " Ms Catopos incorporates by reterenee, as though fully set forth herein
Paragraphs` l through 14 above as Paragraph §§ ot`.Count I of her Complaint.

16. ' At all relevant tirnes, Ms. Carnpos was an “eligibie ernpioyee” of the OFFICE

' Within the meaning of the hamin and Medical Leave Aet {“FMLA” ,_29_ U.S.C. § 2601, et .seq., ' l

and a “person" subject to the FMLA’s coverage

l7. At ali relevant thnes, the OFFICE Wa_s an “ernp`loyer” Within the meaning of the l
FMLA.. 111 1 n ' 1

lB. The FMLA forbids an empleyer from discriminating or retaliating against an
employee because of his or her assertion of her rights under the FMLA.

19. The OFFICE terminated Ms. Carnpos’s employment because she took FMLA

time off and in retaliation for taking such leave.

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20. In so doing, the OFFICE acted intentionally, willfully, and wantonly, and With
intentional disregard for Ms. Carnpos’s rights and the law.

21. As a direct and proximate result of the OFFICE’s discriminatory and retaliatory
actions in violation of the FMLA, Ms. Carnpos has suffered damages, including but not limited
to: loss of wages, loss of benths, and emotional distress

WHEREFORE, Plaintit`t`, Ms. Campos, by and through her undersigned counsel,
respectfully prays for the entry of judgment in her favor and against the Defendant COOK`.
COUNTY STATE’S ATTORNEY’S OFFICE on Count § of her Cornplaint, in an amount in
excess of $50,000 and to be more fully proven through discovery and trial, for all compensatory

damages that she is aliewed to recover under the FMLA, for liquidated damages as allowed v

_ under the "FMLA, for reinstatement, for emotional distress damages, punitive damages, hat-erest,
‘ and for all other relief that she is entitled to recover under the FMLA, and for ali such other and

further relief as isappropriate_ under the circumstances."

CO_UNT¢ ll - INDEMNIFICATION
(Against De.fendant COOK~_ COU_NTY)

22. Ms. Campos incorporates by reference, as though tally set forth herein
Paragraphs l through 15 above as Paragraph 22 of Count ll of her Cornplaint.

zs. Dereadanr coon coUNTY srn'rs’s Ar"roRNEY’s carlos is liable an
violating Plaintift"s FMA rights. n

24. Pursuant to 745 ILCS 10/9-102, COOK COUNTY must indemnify any judgment
against Defendant COOK COUNTY STATE’S ATTORNEY’ S OFFICE.

WIE[EREFORE, Ptaintifi', Ms. Carnpos, by and through her undersigned counsel,
respectfully prays for the entry of judgment in her favor and against the Defendant COOK

COUNTY on Count II of her Complaint, in an amount in excess of $50,000 and to be more fully

 

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proven through discovery and trial, for all compensatory damages that she is allowed to recover

under the FMLA, for liquidated damages as aliowed under the FMLA, for reinstatement, for

emotional distress damages, punitive damages, interest, and for all other relief that she is entitled

to recover under the FMLA, and for all such other and further reiief as is appropriate under the

circumstances

RESPECTFULLY sUBMITTED,

By: s/Miobael I. Leollard

LEoNARI)MEYER, _LLP
Miohael 'I, Leonard_ '

'Ethan E, White _
lzoi-N@nh Lasane, 20"1 alder _

Chi_cago,-Iilinois 6€)_602
(312) 380-6559 (direct)`
(312_) 264-0671 (fax)
Law¥irm I.D. No. 59135

Counsef for Plaintiff

 

 

